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                                          STATE OF WYOMING
                                     Office of the Secretary of State




      I, EDWARD A. BUCHANAN, SECRETARY OF STATE of the STATE OF WYOMING, do
hereby certify that according to the records of this office,

                                                 Trojan EV, LLC
                                                          is a
                                        Limited Liability Company

formed or qualified under the laws of Wyoming did on October 21, 2020, comply with all applicable
requirements of this office. Its period of duration is Perpetual. This entity has been assigned entity
identification number 2020-000953356.

        This entity is in existence and in good standing in this office and has filed all annual reports
and paid all annual license taxes to date, or is not yet required to file such annual reports; and has
not filed Articles of Dissolution.

       I have affixed hereto the Great Seal of the State of Wyoming and duly generated, executed,
authenticated, issued, delivered and communicated this official certificate at Cheyenne, Wyoming
on this 21st day of October, 2020 at 9:13 PM. This certificate is assigned ID Number 039818333.




                                                                             Secretary of State




                                                                                            Trojan EV & GCC

                                                                                                DTX-2
                                                                                               No 4:21-cv-03075

Notice: A certificate issued electronically from the Wyoming Secretary of State's web site is immediately valid and
effective. The validity of a certificate may be established by viewing the Certificate Confirmation screen of the
Secretary of State's website https://wyobiz.wyo.gov and following the instructions displayed under Validate Certificate.
                                                                                          TROJAN EV000146
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                                                        TROJAN EV000148
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                                                        TROJAN EV000149
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                                                        TROJAN EV000150
